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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IMAGOS FILMS, LLC                           :
d/b/a IMAGOS SOFTWORKS,                     :      CIVIL ACTION
and DON THACKER,                            :
           Plaintiffs,                      :
                                            :
     v.                                     :
                                            :
ALEX THOMAS MAUER,                          :      No. 17-2964
         Defendant.                         :

                                           ORDER

     AND NOW, this 6th day of December, 2017, it is ORDERED that:

     1.       The Court shall conduct a hearing on Monday, December 18, 2017 at 9:30 a.m. in

              Courtroom 13B to discuss the status of this matter.

     2.       Pending further order from this Court, the parties shall only communicate with the

              Court and its staff though documents filed with the Clerk of Court.


                                            BY THE COURT:



                                            Berle M. Schiller, J.
